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                                                                            **FILED»*

                                                                      3:48 pm, Aug 03, 2022

                                                                       U.S. DISTRICT COURT

                                                                 EASTERN DISTRICT OF NEW YORK


   AAS;AFM/LAB
   F. #2015R0!725


   UNITED STATES DISTRICT COURT
   EASTERN District of new york
                                               X


    UNITED STATES OF AMERICA                            INDICTMENT

                                                                   l:22-cr-00351(FB)(RER)
          - against -                                    Cr. No.
                                                        (T. 18, U.S.C., §§371,982(a)(1), 982(a)(2)
   DMITRY UKRAINSKIY,                                    982(b)(1), 1343, 1344, 1956(a)(2)(B)(l),
          also known as "Dmitry                          1956(h), 2 and 3551 ^sea.; T. 21, U.S.C.,
          Ukrainsky/'"Dmitry P." and                     § 853(p))
          "Dmitry R.,"

                              Defendant.


                                              X


  THE GRAND JURY CHARGES:
              'i

                                           INTRODUCTION

                   At all times relevant to this Indictment, unless otherwise indicated:
              i'
                   1.     The defendant DMITRY UKRAINSKIY,also known as "Dmitry                    |
  Ukrainsky,""Dmitry P." and "Dmitry R.," was a Russian national residing in Thailand.

                                    THE FRAUDULENT SCHEME

                   2.     In or about and between June 2014 and April 2016, both dates being

  approximate and inclusive, the defendant DMITRY UKRAINSKIY was a member of a criminal

  conspiracy that used malicious software and other mechanisms to take control of bank accounts

  of unsuspecting victims and misappropriate funds from those accounts.

                   3.     The stolen funds were transferred from the victims' accounts to the bankj j
  accounts of a'network of intermediary individuals in the United States ("couriers" or"money |
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  couriers") before being forwarded to members of the conspiracy in the United Slates and abroad.

  A co-conspirator who used the moniker "Samuel Gold" recruited the money couriers, typically
                  r

  Instructing thein by email to open bank accounts, which would receive the stolen funds, and theji
  provided them with further instructions for forwarding the money.

                  ; 4.     Over the course of the scheme, a co-conspirator based in Brooklyn, New
                  f
  York ("CC-1"), an individual whose identity is known to the Grand Jury, received over $230,000
                                                                                                               t

  in funds fraudulently withdrawn from the bank accounts of victims via wire transfers from a
              1                                                                                            I
  network of intermediary money couriers. CC-1 subsequently transferred the funds to bank

  accounts in multiple countries outside the United States in the names of the defendant DMITR^
  UKRAINSKIY and other conspirators. For example, on or about July 20, 2015, CC-1 wired |
  more than $10,000 in fraudulently obtained funds to a bank account in Russia held by
              !h
  UKRAINSKIY.
             '•<                                                                                       ;

                      5.   In furtherance of the scheme, on or about August 12, 2015, approximately
                 I                                                                                     I
              I. 1                                                                                     I
  $28,251 was fraudulently transferred from the bank account of a U.S. resident ("Victim-1"), an

  individual whose identity is known to the Grand Jury, to the bank account of a courier. The co-

  conspirator using the moniker "Samuel Gold" then instructed the courier to send approximately

  $26,600 of the money by certified check to CC-I. Five days later, on or about August 17, 2015,

  CC-1 wired $24,580 to a Russia-based bank account in the name of another co-conspirator("Cp-

  2"), an individual whose identity is known to the Grand Jury.
              f


              lb 6,        In furtherance of the scheme, on or about August 12, 2015, the online
  brokerage credentials of a resident of Long Island, New York ("Victim-2"), an individual whose
                  1                                                                                I
  identity is known to the Grand Jury, were compromised. On that date, more than $44,000 was
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  wired from Victim-2's brokerage account into the bank account of a money courier. Later on

  that same day^ the courier made out a cashier's check to CC-1 for $42,500.                                         j
                is                               COUNT ONE
                                                 (Wire Fraud)

               ' 7.           The allegations contained in paragraphs one through six are realleged and
                                                                                                                 t
  incorporated as if fully set forth in this paragraph.

                       8.     In or about and between June 2014 and April 2016, both dates being

  approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant

  DMITRY UKRAINSKIY,aLso known as "Dmitry Ukrainsky,""Dmitry P." and "Dmitry R.,"

  together with others, did knowingly and intentionally devise a scheme and artifice to defraud oijKjj
  or more victirns, and to obtain money and property of said victims by means of one or more

  materially false and fraudulent pretenses, representations and promises, and for the purpose of
               !C

  executing suqji scheme and artifice, transmitted and caused to be transmitted by means of wire
                >V                                                              "                            I
  communication in interstate and foreign commerce, writings, signs, signals, pictures and sounds

  to wit: emails, other online communications and monetary transfers.

                       (Title 18, United States Code, Sections 1343,2 and 3551 et seq.J

                                                 COUNTTWO
                                                 (Bank Fraud)

                 , 9.         The allegations contained in paragraphs one through six are realleged and

  incorporated as if fully set forth in this paragraph.
               ■'. i                                                                                     j
               , ! 10.        In or about and between June 2014 and April 2016, both dates being

  approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant
                                                                                                     I
               '■r

  DMITRY UKRAINSKI Y, also known as "Dmiti7 Ukrainsky," "Dmitry P." and "Dmitry R.,"
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  together with others, did knowingly and intentionally execute a scheme and artifice to defraud

  one or more fjiiancial institutions, and to obtain moneys, funds, credits, assets, securities and

  other property owned by and under the custody and control of said financial institutions, by

  means of one or more false and fraudulent pretenses, representations and promises.

               ■ : (Title 18, United States Code, Sections 1344,2 and 3551 et seq.)

                                              COUNT THREE
             (Conspiracy to Commit Wire Fraud, Bank Fraud and Computer Intrusion)

                      1 1.   The allegations contained in paragraphs one through six are realleged and

  incorporated as if fully set forth in this paragraph.

                      12.    In or about and between June 2014 and April 2016, both dates being

  approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant

  DMITRY UKRAINSKIY,also known as "Dmitry Ukrainsky,""Dmitry P." and "Dmitry R.,"

  together with others, did knowingly and intentionally conspire to:
               ■> i


                  '          (a)    devise a scheme and artifice to defraud one or more victims, and (;o

  obtain money and property from said victims, by means of one or more materially false and

  fraudulent pretenses, representations and promises, and for the purpose of executing such scherne

  and artifice, to transmit and cause to be transmitted by means of wire communication in

  interstate and foreign commerce, writings, signs, signals, pictures and sounds, contrary to Title

   18, United States Code, Section 1343;

                             (b)    execute a scheme and artifice to defraud one or more fi nancial

  institutions, and to obtain moneys, funds, credits, assets, securities and other property owned by

  and under thejcustody and control of said financial institutions, by means of one or more false
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                                                                                                      5


   and fraudulent pretenses, representations and promises, contrary to Title 18, United States Code

   Section 1344;

                          (c)    access one or more computers without authorization and exceed

   authorized access, and thereby obtain information contained in a financial record of a financial

   institution from a protected computer, in violation of 18 U.S.C. § 1030(a)(2)(A); and
               ti
                          (d)    access, with intent to defraud, a protected computer without

   authorization and by means ofsuch conduct further an intended fraud and obtain something of

   value, to wit: information and U.S. and foreign currency in violation of 18 U.S.C. § 1030(a)(4).

                    13.   In furtherance of the conspiracy and to effect its objects, the defendant

  DMITRY UKRAINSKIY,together with others, did commit and cause to be committed, within
               'i
  the Eastern District of New York and elsewhere, the following:

                                            OVERT ACTS


                          (a)    On or about October 23, 2014, approximately $37,000 was

  fraudulently transferred from the bank account of an individual whose identity is known to the

  Grand Jury ("Victim-3") to the account of a money courier. On or about October 24, 2014, the

  courier wired approximately $34,000 of stolen funds to a bank account in Thailand held by

  UKRAINSKIY.


                          (b)    On or about October 7, 2014, approximately $42,000 was

  fraudulently transferred from the bank account of an individual whose identity is known to the

  Grand Jury ("Victim-4") to the account of a money courier. On the same day, the courier wired

  approximately $39,000 of stolen funds to a bank account in Thailand held by UKRAINSKIY.
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                                                                                                          6

                              (c)    In and around October 2014, approximately $146,000 was

  fraudulently transferred from the brokerage account of an individual whose identity is known to

  the Grand Jury ("Victim-5") into the account of a money courier. The courier transferred

  approximately $58,000 of stolen funds to a bank account in Thailand held by UKRAINSKIY.

                    I         (d)    On or about September 16, 2014, banking credentials were stolen

  from a United States educational institution ("Victim Institution-1"), an entity the identity of

   which is known to the Grand Jury. The stolen credentials were used to log in to Victim

  Institution-ris account at a financial institution and approximately $71 1,000 was stolen from the

  account.          r


               ir (Title 18, United States Code, Sections 371 and 3551 etseg.)

                                                COUNT FOUR
                                             (Money Laundering)
                V

                        14.   The allegations contained in paragraphs one through six are realleged anc

  incoiporated.as if fully set forth in this paragraph.
               I,

                . 15.         In or about and between June 2014 and April 2016, both dates being

  approximate and inclusive, within the Eastern District of New York and elsewhere, the defenda

  DMITRY UKRAINSKI Y, also known as "Dmitry Ukrainsky,""Dmitry P." and "Dmitry R.,"

  together with others, did knowingly and intentionally transport, transmit and transfer monetary

  instruments and funds from one or more places in the United States to and through one or more

  places outside the United States, which transactions in fact involved the proceeds of unlawful

  activity, to wit: wire fraud, bank fraud and conspiracy to commit wire and bank fraud as charged

  in Counts One through Three, and computer intrusion, in violation of Title 18, United States
               ;(

  Code, Section 1030, knowing that the monetary instruments and funds involved in the
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  transportation, transmission and transfer represented the proceeds ofsome form of unlawful

  activity, and knowing that such transportation, transmission and transfer was designed in whole

  and in part to conceal and disguise the nature, the location, the source, the ownership and the

  control of the proceeds of said specified unlawful activity.
               !V                                                                                       I
                     (Title 18, United States Code, Section 1956(a)(2)(B)(i), 2 and 3551 m seq.")

                ,                            COUNT FIVE
                                      (Money Laundering Conspiracy)

                     16.    The allegations contained in paragraphs one through six are realleged and

  incorporated as if fully set forth in this paragraph.

                     17.    in or about and between June 2014 and April 2016, both dates being

  approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant

  DMITRY UKRAINSKIY,also known as "Dmitry Ukrainsky,""Dmitry P." and "Dmitry R.,''

  together with others, did knowingly and intentionally conspire to:
               ti.

                            (a)     transport, transmit and transfer monetary instruments and funds

  from one or more places in the United States to and through one or more places outside the

  United States, which transactions in fact involved the proceeds of unlawful activity, to wit: wire

  fraud, bank fraud and conspiracy to commit wire and bank fraud as charged in Counts One

  through Three, and computer intrusion, in violation of Title 18, United States Code, Section

  1030, knowing that the monetary instruments and funds involved in the transportation,

  transmission and transfer represented the proceeds ofsome form of unlawful activity, and

  knowing that such transportation, transmission and transfer was designed in whole and in part to

  conceal and disguise the nature, the location, the .source, the ownership and the control of the
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   proceeds of specified unlawful activity, all contrary to Title 18, United States Code, Section

   1956(a)(2)(B)(i); and

                           (b)     engage in one or more monetary transactions within the United

  States in criminally derived property of a value greater than $10,000 that was derived from

  specified unlawful activity, to wit: Wire Fraud, Bank Fraud and Conspiracy to Commit Wire and
                                                                                                           I

  Bank Fraud cj^arged in Counts One through Three, and Computer Intrusion, in violation of Title

   18, United States Code, Section 1030, all contrary to Title 18, United States Code, Section          |
   1957(a).

                ^ (Title 18, United States Code, Sections 1956(h) and 3551 et seq.)

                                 CRIMINAL FORFEITURE ALLEGATION
                                 AS TO COUNTS ONE THROUGH THREE

                  18.      The United States hereby gives notice to the defendant that, upon his

  conviction of any of the offenses charged in Counts One through Three, the government will

  seek forfeiture in accordance with Title 18, United States Code, Section 982(a)(2), which

  requires any person convicted of such offenses to forfeit any property constituting, or derived

  from, proceeds obtained directly or indirectly as a result of such offenses.

                  19.      If any of the above-described forfeitable property, as a result of any act of

  omission of the defendant:

                           (a)     cannot be located upon the exercise of due diligence;

                           (b)     has been transferred or sold to, or deposited with, a third party;

                           (c)     has been placed beyond the jurisdiction of the court;

                           (d)     has been substantially diminished in value; or
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                           (e)     has been commingled with other property which cannot be divid^c

   without difficulty;

   it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), k

   incorporated by Title 18, United States Code, Sections 982(b)(1), to seek forfeiture of any other

   property of the defendant up to the value of the forfeitable property described in this forfeiture

  allegation.

                    (Title 18, United States Code, Sections 982(a)(2) and 982(b)(1); Title 21, United

  States Code,-Section 853(p))

                                 CRIMINAL FORFEITURE ALLEGATION
                                   AS TO COUNTS FOUR AND FIVE

                    20.    The United States hereby gives notice to the defendant that, upon his

  conviction of either of the offenses charged in Counts Four and Five, the government will seek

  forfeiture in accordance with Title 18, United States Code, Section 982(a)(1), which requires any

  person convicted of such offenses to forfeit any property, real or personal, involved in such

  offenses, or any property traceable to such property.

                    21.    If any of the above-described forfeitable property, as a result ofany act or

  omission of the defendant:

                          (a)      cannot be located upon the exercise of due diligence;

                          (b)      has been transferred or sold to, or deposited with, a third party;

                )         (c)      has been placed beyond the jurisdiction ofthe court;

                          (d)      has been substantially diminished in value; or

                          (e)      has been commingled with other property which cannot be divided

  without difficulty;
Case 1:22-cr-00351-FB Document 27 Filed 08/03/22 Page 10 of 12 PageID #: 52




                                                                                                         10


   it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), as

   incorporated by Title 18, United States Code, Section 982(b)(1), to seek forfeiture of any other

   property of the defendant up to the value of the forfeitable property described in this forfeiture

   allegation. |
                ■ '(Title 18, United States Code, Sections 982(a)(1) and 982(b)(1); Title 21, United
                 (■


   States Code, Section 853(p))




                                                                       A TRUE BILL




                                                                       FOREPERSON



          BREON PEACE
          UNITED STATES ATTORNEY
          EASTERN DISTRICT OF NEW YORK

   By:
          Assistant U.S. Attorney
                Case 1:22-cr-00351-FB Document 27 Filed 08/03/22 Page 11 of 12 PageID #: 53




F.#20i5R0I725
FORM DBD-34              No.
JUN. 85
                                              UNITED STATES DISTRICT COURT


                                               EASTERN District o/ NEW YORK

                                                    CRIMINAL DIVISION


                                              THE UNITED STATES OF AMERICA


                                                                vs.



                                                    DMITRY UKRAINSKIY,

                                                                                          Defendant.


                                                       INDICTMENT


                              (T. 18, U.S.C., §§ 371, 982(a)(1), 982(a)(2), 982(b)(1), 1343, 1344,
                                                  1956(a)(2)(B)(I). 1956(h), 2
                                           and 3551 et seq.; T. 21, U.S.C.. § 853(p))


                               A true bill.


                                                                                         Foreperson


                         Filed in open court this                                 day.

                         of                           A.D. 20

                                                                                               Clerk
Bail, $



     Alexander Mindlin,Lauren Bowman,Assistant U.S. Attorneys
                         (718)254-7000
                                                                Case 1:22-cr-00351-FB Document 27 Filed 08/03/22 Page 12 of 12 PageID #: 54
